Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

TMA eM tee tuarel Colm coe (al isan celt Laer: ky oH

United States Bankruptcy Court for the:
EASTERN DISTRICT OF NEW YORK

Case number (if known) Chapter 11

C] Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form, On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, /nstructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name 255 Butler LLC

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification 113452772
Number (EIN)

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business

2 East 28th Street

255 Butler St PMB 446

Brooklyn, NY 11217-3020 New York, NY 10016

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code

Kings Location of principal assets, if different from principal
County place of business

255 Butler St_ Brooklyn, NY 11217-3020

Number, Street, City, State & ZIP Code

5. Debtor's website (URL)

6. Type of debtor J Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
[] Partnership (excluding LLP)

1 Other. Specify:

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

Case number (if known)

Debtor 255 Butler LLC
Name
7. Describe debtor's business A. Check one:

OOOOOMOD

B. Check all that apply

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

(] Tax-exempt entity (as described in 26 U.S.C. §501)
[] Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
CL Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
htto://www..uscourts. gov/four-digit-national-association-naics-codes.

531120
8. Under which chapter of the Check one:
Bankruptcy Code is the C1 Chapter 7
debtor filing?
A a ne : L] Chapter 9
ebtor who is a “sma ty
business debtor" must check ix] Chapter 11. Check all that apply:
the first sub-box. A debtor as [] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
defined in § 1182(1) wha noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
elects to proceed under $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
subchapter V of chapter 11 operations, cash-flow statement, and federal income tax return or if any of these documents do not
(whether or not the debtor is exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
a “smail business debtor’) [] The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
must check the second debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
sub-box. proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
[1] Aplan is being filed with this petition.
L] Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
L] The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.
(The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
(] Chapter 12
9. Were prior bankruptcy x] No.
cases filed by or against L] Yes.
the debtor within the last 8
years?
If more than 2 cases, attach a
separate list. District When Case number
District When Case number
10. Are any bankruptcy cases [No
pending or being filed bya [] Yes.
business partner or an
affiliate of the debtor?
List all cases. If more than 1,
attach a separate list Debtor Relationship
District When Case number, if known

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 2
Case€ 1-25-4509 /9-€SS

Debtor 255 Butler LLC

Case number (if known)

Name

Doc Ll Filed LO/Os/z5 Entered LO/jOsizo Lfiolis4

11. Why is the case filed in
this district?

Check all that apply:

1 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

[L] A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

&X] No

Ll Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check ail that apply.)

LJ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

CJ It needs to be physically secured or protected from the weather.

[1] It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

LJ Other

Where is the property?

Is the property insured?
1 No
(Yes. Insurance agency
Contact name

Phone

Number, Street, City, State & ZIP Code

aa Statistical and administrative information

13. Debtor's estimation of
available funds

Check one:

&] Funds will be available for distribution to unsecured creditors.

L After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of XX] 1-49 (J 1,000-5,000 LJ 25,001-50,000
creditors CL] 50-99 (] 5001-10,000 (J 50,001-100,000
C1 100-199 L] 10,001-25,000 LJ More than100,000
LJ 200-999
15. Estimated Assets CL] $0 - $50,000 C1 $1,000,001 - $10 million CL] $500,000,001 - $1 billion

L] $50,001 - $100,000
LJ $100,001 - $500,000
C1 $500,001 - $1 million

XX] $10,000,001 - $50 million
L] $50,000,001 - $100 million
C) $100,000,001 - $500 million

LJ $1,000,000,001 - $10 billion
C1 $10,000,000,001 - $50 billion
(J More than $50 billion

16. Estimated liabilities

11 $0 - $50,000

fF $50,001 - $100,000
C1 $100,001 - $500,000
0 $500,001 - $1 million

Of $1,000,001 - $10 million

BJ $10,000,001 - $50 million

DO $50,000,001 - $100 million

OJ $100,000,001 - $500 million

OJ $500,000,001 - $1 billion

OF $1,000,000,001 - $10 billion
OO $10,000,000,001 - $50 billion
1 More than $50 billion

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

Debtor 255 Butler LLC

Name

=a Request for Relief, Declaration, and Signatures

Case number (/f known)

WARNING ~ Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result In fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized
representative of debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the Information In this petition and have a reasonable bellef that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on October 3, 2023

MM /OD/YYYY

ignature of a}ihorize “eye

Tite _Manager

Margaux Levy

Printed name

18. Signature of attorney x

Official Form 201

Signatufe of attorney for debtor

Kevin Nash

Date October 3, 2023

MM/DD/YYYY

Printed name

Goldberg Weprin Finkel Goldstein LLP

Firm name

125 Park Ave
New York, NY 10017-5690

Number, Strest, City, State & ZIP Code

Contact phone Emall address

NY

knash@gwiglaw.com

Bar number and State

Voluntary Petition for Non-Indlviduals Filing for Bankruptcy

page 4
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

COMPANY RESOLUTION IN SUPPORT OF THE CHAPTER 11 FILING

WHEREAS, in accordance with the Company’s Operating Agreement dated September 18,
1998, a special meeting of the members of 255 Butler LLC (the “Company”) having been called
and convened on October 3; 2023, and upon motion duly made and carried, the following resolutions
were adopted:

RESOLVED, the Company is authorized to file a voluntary petition
for relief under Chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”), in the United States Bankruptcy Court for the
Eastern District of New York; and it is further

RESOLVED, that the Company is authorized to retain the law firm
of Goldberg Weprin Finkel Goldstein LLP as counsel in the Chapter
11 case under a general retainer; and it is further

RESOLVED, that Margaux Levy is hereby appointed as the new
manager of the Company for the purpose of overseeing the
Company’s Chapter 11 case.

Dated: Brooklyn, New York

October 3, 2023
255 Butler LLC

» LA ap

Nathan seek: 2 i]
By: 4 AA [

Benjamin

Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

x
In re: Chapter 11
255 Butler LLC,
Case No.
Debtor.
x
DECLARATION PURSUANT TO

THE LOCAL BANKRUPTCY RULES

Margaux Levy declares the following under penalties of perjury pursuant to 28 U.S.C. §
1746:

l. I am the new manager of 255 Butler LLC (the “Debtor”), having been appointed

by the Members to oversee the filing and prosecution of this Chapter 11 case. I believe that 1 am
sufficiently familiar with the relevant facts and circumstances to submit this Declaration in
accordance with the Local Bankruptcy Rule 1007-4 in support of the Debtor’s filing of a voluntary
petition under Chapter 11 of the Bankruptcy Code.

2. The Debtor owns a commercial building located at 255 Butler Street, Brooklyn,
New York, (the “Property”). The Property is now in very serious jeopardy of being forfeited
following the Debtor’s inability to obtain a TRO staying a pending Sheriff's judgment foreclosure
sale, presently scheduled for October 4, 2023.

3. The Debtor is currently appealing a harsh ruling by the Appellate Division striking
the Debtor’s answer filed in response to claims brought by a former tenant due to the failure to
abide by discovery obligations. That decision resulted in a subsequent judgment entered against
the Debtor in the principal sum of $36,241,836. This judgment was effectively obtained on default

after the Debtor’s answer was stricken by the Appellate Division on August 31, 2022. The Debtor
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

is pursuing a motion for reargument before the Appellate Division. In the interim, the Debtor has
perfected its appeal of the underlying judgment on September 29, 2023.

4, The filing of the instant Chapter 11 petition is the only option available to the
Debtor to maintain the status quo at least in the near term. If necessary, the Debtor is prepared to
sell the Property under a Bankruptcy Court auction process rather than face a distressed sale
scenario. Besides the judgment, the Property is also subject to a senior mortgage held by Maguire
Butler LLC as assignee of Cathay Bank in the alleged total sum of $13,458,246.13 as of August
15, 2023,

EVENTS LEADING TO CHAPTER 11 FILING

5. The Debtor has owned the subject property since 1998 and entered into a net lease
with 255 Butler Associates LLC (the “Tenant”). Litigation ensued between the Debtor and the
Tenant over issues inter alia relating to a potential subletting of the Property and, specifically,
claims of interference with the Tenant’s efforts to sublet the Property to WeWork. This litigation
was filed in the Supreme Court, Kings County in 2015 as part of a Yellowstone injunction-type

action (Index No. 511560/2015) (the “State Court Litigation”).

6. The Debtor’s answer in the State Court Litigation was ultimately struck by the
Appellate Division on August 31, 2022. Unexpectedly, the Appellate Division issued its ruling
after the State Court denied Tenant’s motion to strike the Debtor’s answer. The Appellate
Division’s reversal regarding the answer came a short time after an actual trial on the merits was
completed and post-trial briefs had been submitted. As a result of the appellate reversal, the Debtor
could no longer contest liability on the merits, leaving only an inquest to compute the damages.

7. Insofar as discovery was concerned, the Trial Court stated that: “the record does

not support the drastic measure of striking Defendants’ answer ... both sides have dutifully
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

appeared for monthly status conferences and discovery has been advancing. ... the Court does not
find Defendants’ past delays to be deliberate or in bad faith.”

8. Following the Appellate Division ruling, the Trial Court then entered a judgment
in the amount of $36,241,836 including alleged overstated lost-profits damages which did not
recognize critical expenses. The Debtor filed a motion in the Appellate Division to reargue the
Decision and/or to obtain leave to appeal to the Court of Appeals. That motion has been sub judice
for a number of months. In the meanwhile, the Debtor perfected its appeal of the Judgment on
September 29, 2023.

9. A Sheriff's sale is scheduled for October 4, 2023.

Local Rule 1007-4 Disclosures

10. Pursuant to Local Rule 1007-4 (a)(v), no committee of creditors was formed prior
to the filing of the Petition.

11. Pursuant to Local Rule 1007-4(a)(vi), a list of the Debtor’s twenty largest creditors
is included as part of the Petition.

12. Pursuant to Local Rule 1007-4(a)(vii), the Property is subject to a senior mortgage
held by Maguire Butler LLC in the alleged total sum of $13,458,246.13 as of August 15, 2023.

13. Pursuant to Local Rule 1007-4(a)(viii), the Debtor’s assets and liabilities will be set
forth in the accompanying bankruptcy schedules to be filed within fifteen (15) days.

14. Pursuant to Local Rule 1007-4(a)(ix), the membership interests of the Debtor are
held as set forth in the attached schedule.

15. Pursuant to Local Rule 1007-4(a)(x), no receiver or other custodian has been
appointed to operate the Property, although the Sheriff has scheduled a judgment foreclosure sale

of the Property.
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

16. Pursuant to Local Rule 1007-4(a)(xi), the Property is located in Brooklyn, New
York.

17. Pursuant to Local Rule 1007-4(a)(xii), the Debtor’s books and records are located
in Brooklyn, New York.

18. Pursuant to Local Rule 1007-4(a)(xiii), a list of lawsuits is annexed hereto.

By; MA J
/ Margau®Levy

Dated: Brooklyn, New York
October 3, 2023

Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: Chapter 11
255 Butler LLC, Case No.
Debtor.
Xx
LIST OF EQUITY HOLDERS
Nathan Accad 25.5%
Benjamin Akkad 25.5%
NATHAN ACCAD 2013 IRREVOCABLE TRUST 24.5%

BENJAMIN AKKAD 2013 IRREVOCABLE TRUST 24.5%

Dated: New York, New York
October 3, 2023

255 Butler LLC

SK Dawe kL.

Namé: Mafgaux Levy’
Title: Manager

Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LU/Qsizo Lfiolis4

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

--- ----X

In re: Chapter 11
255 Butler LLC, Case No.
Debtor.
x
LIST OF LAWSUITS
1; 255 Butler Associates LLC v. 255 Butler LLC
Supreme Court, Kings County
Index No. 511560/2015
Breach of Lease

Related Appeals — Appellate Division Docket Nos. 2023-01760; 2023-03126;
2023-03711 and 2023-03713

Sussam Godfrey LLP
1301 Avenue of the Americas Fl 32
New York, NY 10019-7736

2. Maguire Butler LLC v. 255 Butler LLC et al
Supreme Court, Kings County
Index No. 511468/2023
Foreclosure

Jaspan Schlessinger Narendran LLP
300 Garden City Plaza, 5 Fl.
Garden City, New York 11530

Dated: Brooklyn, New York
October 3, 2023

255 Butler LLC

By: tiene 0 LO
/ Name: Margaux Ley
Title: Manager

Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
“s “x
In re: Chapter 11

255 Butler LLC Case No.

Debtor.

BANKRUPTCY RULE 7007.1 AND E.D.N.Y. LBR 1073-3
CORPORATE OWNERSHIP STATEMENT

Pursuant to Bankruptcy Rule 7007.1 and E.D.N.Y. LBR 1073-3, 255 Butler LLC
certifies that it is a private non-governmental party, and has no corporate parent, affiliates and/or

subsidiaries which are publicly held.

Dated: Brooklyn, New York
October 3, 2023

255 Butler LLC

By:

ame: Mar
Title: Manager
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

alia alSferiolanar=lielamceltel=iaj 4
Debtor name | 255 Butler LLC
United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW L] Check if this is an

YORK

Case number (if known): amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and Name, telephone number | Nature of claim Indicate if claim | Amount of claim
complete mailing address, | and email address of (for example, trade is contingent, _| If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code creditor contact debts, bank loans, unliquidated, or | claim is partially secured, fill in total claim amount and deduction for
professional services, disputed value of collateral or setoff to calculate unsecured claim.

and government Total claim, if Deduction for value | Unsecured claim
contracts) partially secured of collateral or setoff

255 Butler Judgment Unliquidated | $36,241,836.00 $0.00} $36,241,836.00
Associates LLC Disputed
c/o Sussam Godfrey
LLP

1301 Avenue of the
Americas F] 32
New York, NY
10019-7736
46 Nelson LLC Loan $114,600.00
2 East 28th Street
PMB 446
New York, NY 10016
80 Richards Street Loan $633,000.00
LLC
2 East 28th Street
PMB 446
New York, NY 10016
BH 402M Realty LLC Loan $76,000.00
2 East 28th Street
PMB 446
New York, NY 10016
Dick Bailey Service $13,178.68
Inc.
§202 3rd Ave FI 2
Brooklyn, NY
11220-1707
Heller Horowitz & Legal Services $229,676.16
Feit PC
260 Madison Ave Fl
17
New York, NY
10016-2410
HH 1636 Coney LLC Loan $47,000.00
2 East 28th Street
PMB 446
New York, NY 10016

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

Software Copyright (c) 1996-2023 Best Case. LLC - www.bestcase.com Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

Debtor

255 Butler LLC

Name

Case number (if known)

Name of creditor and
complete mailing address,
including zip code

Name, telephone number
and email address of
creditor contact

Nature of claim
(for example, trade
debts, bank loans,

professional services,

and government
contracts)

Indicate if claim
is contingent,
unliquidated, or
disputed

Amount of claim

If the claim is fully unsecured, fill in only unsecured claim amount. If
claim is partially secured, fill in total claim amount and deduction for
value of collateral or setoff to calculate unsecured claim.

Total claim, if
partially secured

Deduction for value
of collateral or setoff

Unsecured claim

HH West 20th LLC

2 East 28th Street
PMB 446

New York, NY 10016

Loan

$112,375.00

HHRE Management
LLC

2 East 28th Street
PMB 446

New York, NY 10016

Loan

$38,000.00

HKA Global LLC
2005 Market St Ste
820

Philadelphia, PA
19103-7005

$153,631.83

HR Consultants &
Advisors LLC
2701 Avenue K
Brooklyn, NY
11210-3721

Accounting

$2,185.00

Idea Nuova Lease
Inc.

2 East 28th Street
PMB 446

New York, NY 10016

Loan

$130,500.00

Internal Revenue
Service
Centralized
Insolvency
Operations
PO Box 7346

Philadelphia, PA
19101-7346

Taxes

Unliquidated
Disputed

Unknown

Kalmon Dolgin
Affiliates Inc

101 Richardson St
Brooklyn, NY
41211-1344

Brokerage

$1,232,145.00

Maguire Butler LLC
c/o Frank
Dell’'Amore, Esq.
Jaspan
Schlessinger &
Narandran LLP

300 Garden City
Piz #5TL
Garden City, NY
11530-3302

Mortgage loan

Unliquidated
Disputed

$13,458,246.13

$0.00

$13,458,246.13

Morrison Cohen LLP
909 3rd Ave FI 27
New York, NY
10022-4784

Legal Services

$278,000.00

Official form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

Software Copyrighl (c) 1996-2023 Best Case. LLC - www.bestcase.com

Page 2

Best Case Bankruptcy

Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

Debtor 255 Butler LLC

Name

Case number (if known)

Name of creditor and
complete mailing address,
including zip code

Name, telephone number
and email address of
creditor contact

Nature of claim

(for example, trade
debts, bank loans,
professional services,
and government
contracts)

Indicate if claim
is contingent,
unliquidated, or
disputed

Amount of claim

If the claim is fully unsecured, fill in only unsecured claim amount. If
claim is partially secured, fill in total claim amount and deduction for
value of collateral or setoff to calculate unsecured claim.

Total claim, if
partially secured

Deduction for value
of collateral or setoff

Unsecured claim

NYC Dep't of
Finance
Legal Affairs,
Collection Unit

375 Pearl! St Apt 30
New York, NY
10038-1442

Taxes

$311,850.80

NYS Dep't of
Taxation
Bankruptcy/Special
Procedure

PO Box 5300
Albany, NY
12205-0300

Taxes

Unliquidated
Disputed

Unknown

Seligson Rothman &
Rothman

29 W 30th St FI 10
New York, NY
10001-4461

Legal Services

$690,000.00

Official form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

Software Copyrighl (c) 1996-2023 Best Case. LLC - www.bestcase.com

page 3

Besl Case Bankruptcy

Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

aT Mma emUiiceyarirslccelam Come UCLA aL ULM ec: icy

Debtorname 255 Butler LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

0 Check K this is an
amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12115

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
andthe date. Bankruptcy Rules 1008 and 9011.

WARNING — Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

Pa Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor In this case.

I have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/8)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 2066)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
Amended Schedule
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
Other document that requires a declaration f

me

ORDER

| declare under penalty of perjury that the foregoing | and}correct.

Executed on October 3, 2023 x
Signature of fidividual signing epee of debtor

Margaux Levy

Printed name

Manager
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
Saftware Copyright {c) 1996-2023 Bast Case, LLC - www.bestcase.com Bast Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

PMR UE ai celiearettc lam CMC lal tia ah ulm tr-e

Debtorname 255 Butler LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

(1 Check if this is an
amended filing

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12115

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known), Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

LINo. Goto Part 2.

Yes Fill in the information below,

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

3. Checking, savings, money market, or financial brokerage accounts (Identify all)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1, Checking Unknown
4, Other cash equivalents (identify all)
5, Total of Part 1. $0.00
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Deposits and Prepayments

6. Does the debtor have any deposits or prepayments?

XI No. Go to Part 3.
C Yes Fill in the information below.

Accounts receivable

10. Does the debtor have any accounts receivable?

IX] No. Go to Part 4.
C] Yes Fill in the information below.

Investments

13. Does the debtor own any investments?

x] No. Go to Part 5.
LJ Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1

Software Capyright (c) 1996-2023 Best Case. LLC - www.bestcase.com Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

Oebtor 255 Butler LLC Case number (if known)
Name
Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

KI No. Go to Part 6.
CJ Yes Fill in the information below.

Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

K] No. Go to Part 7.
(3 Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

KI No. Go to Part 8.
(] Yes Fill in the information below.

Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

KI No. Go to Part 9.
(1 Yes Fill in the information below.

Real property

54. Does the debtor own or lease any real property?

[J] No. Goto Part 10.
Kl Yes Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of Nature and Net book value of Valuation method used Current value of
property extent of debtor's interest for current value debtor's interest
Include street address or other debtor's interest (Where available)
description such as Assessor in property

Parcel Number (APN), and type
of property (for example,
acreage, factory, warehouse,
apartment or office building, if

available.
55.1. 255 Butler St,
Brooklyn, NY
11217-3020 To be Determined, but believed
to be in excess of $30 million
56 Total of Part 9. $0.00
Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
Copy the total to line 88.
57 Is a depreciation schedule available for any of the property listed in Part 9?
No
CJ Yes
58 Has any of the property listed in Part 9 been appraised by a professional within the last year?
KI No
CO Yes
Ur Lee Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

Software Copyright (c} 1996-2023 Besl Case, LLC - www besicase com

Best Case Bankruplcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

Debtor 255 Butler LLC Case number (if known)

Name

XX] No. Goto Part 11.
OO Yes Fill in the information below.

eecl gem tee All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

XX] No. Go to Part 12.
CJ Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3

Software Copyright (c) 1996-2023 Best Case. LLC - www.besicase.com Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

Debtor 255 Butler LLC Case number (if known)

Name

Ler] a aa te Summary

In Part 12 copy all of the totals from the earlier parts of the form

Type of property Current value of Current value of real
personal property property

80. Cash, cash equivalents, and financial assets.

Copy line 5, Part 1 $0.00
81. Deposits and prepayments. Copy line 9, Part 2. $0.00
82. Accounts receivable. Copy line 12, Part 3. $0.00
83. Investments. Copy line 17, Part 4. $0.00
84. Inventory. Copy line 23, Part 5. $0.00
85. Farming and fishing-related assets. Copy line 33, Part 6. $0.00
86. Office furniture, fixtures, and equipment; and collectibles.

Copy line 43, Part 7. $0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8. $0.00
88. Real property. Copy line 56, Part 9.....-...ccccesssececesesescsessesseeseeescoesssssneseeecaecenasverenseeeesensnensneenss > $0.00
89. Intangibles and intellectual property. Copy line 66, Part 10. $0.00
90. All other assets. Copy line 78, Part 11. + $0.00
91. Total. Add lines 80 through 90 for each column $0.00 | +91b. $0.00
92. Total of all property on Schedule A/B. Add lines 91a+91b=92 $0.00
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4

Software Copyright (c) 1996-2023 Best Case. LLC - www.besicase.com Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

PMT eM hci tiColp ce Ce (eran el pan taley

Cer=

Debtorname 255 Butler LLC

United States Bankruptcy Court for the:

Case number (if known)

EASTERN DISTRICT OF NEW YORK

O

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

Check if this is an
amended filing

12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
CJ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
XX] Yes. Fill in all of the information below.

[GERRER List Creditors Who Have Secured Claims

2. List in aJphabetical order all creditors who have secured claims. If a creditor has more than one secured

claim, list the creditor separately for each claim.

Column A

Amount of claim

Do not deduct the value
of collateral.

Column B

Value of collateral
that supports this
claim

[2.1 | 255 Butler Associates LLC Describe debtor's property that is subject to a lien $36,241,836.00 $0.00
Creditor's Name 255 Butler St, Brooklyn, NY 11217-3020
clo Sussam Godfrey LLP
1301 Avenue of the
Americas FI 32
New York, NY 10019-7736
Creditor's mailing address Describe the lien
Is the creditor an insider or related party?
KI No
Creditor’s email address, if known 0 Yes
Is anyone else liable on this claim?
Date debt was incurred XI No
1 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
C1 No (1 Contingent
KI Yes. Specify each creditor, £4 Unliquidated
including this creditor and its relative Disputed
priority.
1. Maguire Butler LLC
2. 255 Butler Associates
LLC
[2.2 |Maguire Butler LLC Describe debtor's property that is subject to a lien $13,458,246.13 $0.00
Creditor's Name 255 Butler St, Brooklyn, NY 11217-3020
c/o Frank Dell’Amore, Esq.
Jaspan Schlessinger &
Narandran LLP
300 Garden City Plz # 5TL
Garden City, NY
11530-3302
Creditor's mailing address Describe the lien
Is the creditor an insider or related party?
XI No
Credilor’s email address, if known 0 Yes
Is anyone else liable on this claim?
Date debt was incurred LI No
BJ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2

Software Copyright (c) 1996-2023 Besi Case. LLC - www.bestcase.com

Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

Debtor 255 Butler LLC Case number (if known)
Name
Do multiple creditors have an As of the petition filing date, the claim ts:
interest in the same property? Check all that apply
CINo O Contingent
Yes. Specify each creditor, bd Unliquidated
including this creditor and its relative [x] Disputed
priorily

Specified on line 2.1

$49,700,082.

3, Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any. 13

Ge List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and address On which line in Part 1 did you Last 4 digits of
enter the related creditor? account number for
this entity

Ganfer Shore Leeds
360 Lexington Ave Line _2.1_
New York, NY 10017-6502

Meltzer, Lippe
190 Willis Ave Line _2.1
Mineola, NY 11501-2672

Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2

Software Copyright (c} 1996-2023 Best Case LLC - www.bestcase.com Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

PALM M tercleear-seC lam cel (laid aval (elie: ioe

Debtorname 255 Butler LLC

United States Bankruptcy Courl for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

L] Check if this is an
amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 42/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and

2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

ite List All Creditors with PRIORITY Unsecured Claims

4. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

DD No. Go to Part 2.
XX Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
with priority unsecured claims, fill out and attach the Additional Page of Part 1.

Priority creditor's name and mailing address
Internal Revenue Service
Centralized Insolvency Operations

PO Box 7346
Philadelphia, PA 19101-7346

Date or dates debt was incurred

As of the petition filing date, the claim is:

Check all that apply.
U5 Contingent

1 Unliquidated
XX Disputed

Basis for the claim:

Total claim Priority amount

Unknown Unknown

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?
No
CO Yes

Priority creditor's name and mailing address
NYC Dep't of Finance
Legal Affairs, Collection Unit
375 Pearl St Apt 30
New York, NY 10038-1442

Date or dates debt was incurred

As of the petition filing date, the claim is:

Check all that apply.
O Contingent

D unliquidated
(J Disputed

Basis for the claim:

$311,850.80 $311,850.80

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

ls the claim subject to offset?
XI No
O Yes

| 2.3 Priority creditor's name and mailing address
NYS Dep't of Taxation
Bankruptcy/Special Procedure
PO Box 5300
Albany, NY 12205-0300

Date or dates debt was incurred

As of the petition filing date, the claim is:

Check all that apply.
0 Contingent

& Unliquidated
KX] Disputed

Basis for the claim:

Unknown Unknown

Last 4 digils of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U S.C, § 507(a) (8)

Is the claim subject to offset?
KK] No
O Yes

(E27H List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill

Official Form 206E/F

Software Copyright (c) 1996-2023 Best Case LLC - www.bestcase.com

Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of 4

Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

255 Butler LLC

Case number (if known)

Name

out and attach the Additional Page of Part 2

Amount of claim

Software Copyright (c) 1996-2023 Best Case LLC - www.bestcase.com

| 3.1 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply $114,600.00
46 Nelson LLC
2 East 28th Street :
PMB 446 Cl Contingent
(J unliquidated
New York, NY 10016 J Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? [No (1 Yes
3.2 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $633,000.00
80 Richards Street LLC
2 East 28th Street
PMB 446 O Contingent
OO Unliquidated
New York, NY 10016 1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? [No [1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply $76,000.00
BH 402M Realty LLC
2 East 28th Street :
PMB 446 O Contingent
D0 Uniiquidated
New York, NY 10016 (1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? EYINo (1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai! that apply. $13,178.68
Dick Bailey Service Inc.
5202 3rd Ave Fl 2 rien
Brooklyn, NY 11220-1707 (1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? BINo [LJ Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply $229,676.16
Heller Horowitz & Feit PC /
260 Madison Ave Fl 17 Ht Goh
New York, NY 10016-2410 CJ Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? EINo (Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $47,000.00
HH 1636 Coney LLC
2 East 28th Street
PMB 446 O Contingent
O Unliquidated
New York, NY 10016 CI Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ {s the claim subject to offset? No (1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai! that apply $112,375.00
HH West 20th LLC
2 East 28th Street /
PMB 446 oO Contingent
(J Untiquidated
New York, NY 10016 CZ) Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? EJ No [1 Yes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 4

Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

255 Butler LLC

Case number (if known)

Idea Nuova Lease Inc.
2 East 28th Street
PMB 446

New York, NY 10016

Date(s) debt was incurred _

Last 4 digits of account number _

O Contingent

U0 unliquidated

OO Disputed

Basis for the claim: _

Is the claim subject to offset? EJNo (Yes

Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply $38,000.00
HHRE Management LLC
2 East 28th Street
PMB 446 ED Contingent
CO) Unliquidated
New York, NY 10016 C Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? EJNo (J Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all hat apply $153,631.83
HKA Global LLC /
2005 Market St Ste 820 A a
Philadelphia, PA 19103-7005 (J Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? BYINo (C1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply $2,185.00
HR Consultants & Advisors LLC /
2704 Avenue K Beene
Brooklyn, NY 11210-3721 CO Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? EKINo (1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply $130,500.00

Nonpriority creditor's name and mailing address
Kalmon Dolgin Affiliates Inc

101 Richardson St

Brooklyn, NY 11211-1344

Date(s) debt was Incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aif that apply.

O Contingent

U3 unliquidated

UO Disputed

Basis for the claim: _

is the claim subject to offset? EINo (C1 Yes

$1,232,145.00

Nonpriority creditor's name and maiting address As of the petition filing date, the claim is: Check ai that apply $278,000.00
Morrison Cohen LLP

909 3rd Ave FI 27 EIuceetee

New York, NY 10022-4784 Cl Disputed

Date(s) debt was incurred __ Basis for the claim:

Last 4 digits of account number _ Is the claim subject to offset? BYJNo CL Yes

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $690,000.00

Seligson Rothman & Rothman
29 W 30th St Fl 10
New York, NY 10001-4461

Date(s) debt was incurred _

Last 4 digits of account number _

U1 Contingent

C] Unliquidated

UO Disputed

Basis for the claim: _

Is the claim subject to offset? KINo {] Yes

LE List Others to Be Notified About Unsecured Claims

4, List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fifl out or submit this page. If additional pages are needed, copy the next page.

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims

Software Copyrighl (c) 1996-2023 Best Case LLC - www.bestcase.com

Page 3 of 4

Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

Debtor 255 Butler LLC

Name

Name and mailing address

4.1 NYC Dept of Law
Attn: Bernadette Brennan, Esq. 100 Church St Rm 5-233

New York, NY 10007-2601

Case number (if known)

On which line in Part1 or Part 2 is the
related creditor {if any) listed?

Line 2,2

any

O_ Not listed. Explain

Last 4 digits of
account number, if

4.2 NYS Attorney General
28 Liberty St
New York, NY 10005-1400

Line 2.3

O

Not listed. Explain

Len Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Total of claim amounts

5a. Total claims from Part 1 5a, 311,850.80
5b. Total claims from Part 2 5b. 3,750,291.67
5c. Total of Parts 1 and 2

Lines 5a + 5b = 5c, 5c. 4,062,142.47
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims

Software Copyright (c) 1996-2023 Best Case LLC - waww.bestcase com

Page 4 of 4

Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

AMM eM ertolauirtacey am CoM CCTs an dnl Wer- Clee

Debtorname 255 Butler LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

C1 Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?

IX] No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

CJ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.2 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.3 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.4 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

Software Copyrghl (c) 1996-2023 Best Case LLC - www.bestcase.com Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

UMS eum nC ED a Ula er: eon

Debtorname 255 Butler LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

L] Check if this is an
amended filing

Official Form 206H
Schedule H: Your Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

CL] No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

X] Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check all schedules

that apply:

2.1 Benjamin Akkad Maguire Butler LLC MD_ 2.2
[] E/F
L1G

2.2 Nathaniel Accad Maguire Butler LLC Ba D 2.2
1 E/F
LG

Official Form 206H Schedule H: Your Codebtors Page 1 of 1

Software Copyrighl (c) 1996-2023 Best Case. LLC - www.bestcase com Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

TMT lee celiuer-licevem CoM s(n ia ALUM er: kim

Debtorname 255 Butler LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

C] Check if this is an
amended filing

Official Form 206Sum

Summary of Assets and Liabilities for Non-Individuals 12/15

ta Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

1a. Real property:
Copy line 88 from Schedule A/B.aisscscicescctesiciactectestchinsccaseecacascicicaataaautccaet tincsiataataccvasscecccaestcatcbica sratectbactietataatuat $ 0.00

1b. Total personal property:
Copy line 91A from SCHEAUIE A/Boo.o..oo. ccc cocceso tense tesenssennnteeeeeseeeaeaneenenneneatvtneeenseetteatnartaarsauteenesiaeetssetseeceseneeeees $ 0.00

1c. Total of all property:
Copy line 92 from Schedule A/Beviiaisiiiessicissipisviaicaccinusesanasnavisstesusaiteasuventvatuiteausccivasnaivessuadbeavadbsevadbiinssessvadeiverstinsds $ 0.00

Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule Duo... ee eteseeteeeeeeees $ 46,580,359.81

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/F 02... ..cccccccsccrecsscssseveneseeenneeneeesecrseesenenseensensesuase $ 311,850.80

3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...........cccccccccccteceteetenecseeeeneeees +$ 3,662,586.61

4. Total Viabilities 0... ceeccnseneeeseeeceseceeseececeesensusceaeeeeeeseceeessnseasasnaeseseeceeesssseneusssneeceeneeesepensneneaneeeeeeser
Lines 2 + 3a + 3b $ 50,554,797.22

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1
Software Copyright (c) 1996-2023 Best Case LLC - www.bestcase.com Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

United States Bankruptcy Court
Eastern District of New York

Inre 255 Butler LLC Case No.

Debtor(s) Chapter 11

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.

Date: October 3, 2023

Margaux Levy/Mlanager

Signer/Title
Date: October 3, 2023 ekg

Signature of Attomey SD
Kevin Nash

Goldberg Weprin Finkel Goldstein LLP
125 Park Ave

New York, NY 10017-5690

Fax:

/

USBC-44 Rey, 9/17/98

Software Copyright (c) 1996-2023 Best Case, LLC - www.besicase.com Best Case Bankruptcy
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

255 Butler Associates LLC

c/o Sussam Godfrey LLP

1301 Avenue of the Americas Fl 32
New York, NY 10019-7736

46 Nelson LLC
2 East 28th Street PMB 446
New York, NY 10016

80 Richards Street LLC
2 East 28th Street PMB 446
New York, NY 10016

BH 402M Realty LLC
2 East 28th Street PMB 446
New York, NY 10016

Dick Bailey Service Inc.
5202 3rd Ave Fl 2
Brooklyn, NY 11220-1707

Ganfer Shore Leeds
360 Lexington Ave
New York, NY 10017-6502

Heller Horowitz & Feit PC
260 Madison Ave Fl 17
New York, NY 10016-2410

AH 1636 Coney LLC
2 East 28th Street PMB 446
New York, NY 10016

HH West 20th LLC
2 East 28th Street PMB 446
New York, NY 10016

HHRE Management LLC
2 East 28th Street PMB 446
New York, NY 10016

AKA Global LLC
2005 Market St Ste 820
Philadelphia, PA 19103-7005

HR Consultants & Advisors LLC
2701 Avenue K
Brooklyn, NY 11210-3721

Idea Nuova Lease Inc.
2 East 28th Street PMB 446
New York, NY 10016
Case 1-25-450/0-€SS DOCL Filed 10/Os/e5 centered LUjQsizo Lfiolis4

Internal Revenue Service

Centralized Insolvency Operations
PO Box 7346

Philadelphia, PA 19101-7346

Kalmon Dolgin Affiliates Inc
101 Richardson St
Brooklyn, NY 11211-1344

Maguire Butler LLC

c/o Frank Dell'Amore, Esq.

Jaspan Schlessinger & Narandran LLP 30
Garden City, NY 11530-3302

Meltzer, Lippe
190 Willis Ave
Mineola, NY 11501-2672

Morrison Cohen LLP
909 3rd Ave Fl 27
New York, NY 10022-4784

NYC Dep't of Finance

Legal Affairs, Collection Unit
375 Pearl St Apt 30

New York, NY 10038-1442

NYC Dept of Law
Attn: Bernadette Brennan, Esq. 100 Churc
New York, NY 10007-2601

NYS Attorney General
28 Liberty St
New York, NY 10005-1400

NYS Dep't of Taxation
Bankruptcy/Special Procedure
PO Box 5300

Albany, NY 12205-0300

Seligson Rothman & Rothman
29 W 30th St Fl 10
New York, NY 10001-4461
